
In re Hassell, J. Thomas; Thibodeaux, Lonnie; — Defendants); applying for supervisory and/or remedial writs; Parish of Terrebonne, 32nd Judicial District Court, Div. “B”, No. 86,948; to the Court of Appeal, First Circuit, No. CW88 1291.
Granted. The judgment of the trial court is reversed, and judgment is rendered maintaining the exception to jurisdiction over the subject matter. ERISA preempts plaintiffs’ state law claims. See Pilot Life Insurance Co. v. Dedeaux, 481 U.S. 41, 107 S.Ct. 1549, 95 L.Ed.2d 39 (1987), and Belasco v. W.K.P. Wilson &amp; Sons, Inc., 833 F.2d 277 (11th Cir.1987).
